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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION

 CLIVE GORDON,

        Plaintiff,

 -vs-
                                                    CASE NO.:
 BAYVIEW LOAN SERVICING, LLC,

        Defendant.
                                               /

                                        COMPLAINT

         Plaintiff, Clive Gordon (hereinafter “Plaintiff”), sues Defendant, Bayview Loan

 Servicing, LLC (hereinafter “Defendant”), and in support thereof respectfully alleges

 violations of the Telephone Consumer Protection Act, 47 U.S.C. § 227 et seq. (“TCPA”)

 and the Florida Consumer Collection Practices Act, Fla. Stat. § 559.55 et seq.

 (“FCCPA”).

                                      INTRODUCTION

         1.          The TCPA was enacted to prevent companies like Defendant from

 invading American citizen’s privacy and prevent abusive “robo-calls.”

         2.          “Senator Hollings, the TCPA’s sponsor, described these calls as ‘the

 scourge of modern civilization, they wake us up in the morning; they interrupt our dinner

 at night; they force the sick and elderly out of bed; they hound us until we want to rip the

 telephone out of the wall.”’ 137 Cong. Rec. 30, 821 (1991). Senator Hollings presumably

 intended to give telephone subscribers another option: “telling the auto-dialers to simply

 stop calling.” Osorio v. State Farm Bank, F.S.B., 746 F. 3d 1242 (11th Cir. 2014).


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                                 JURISDICTION AND VENUE

         3.      Jurisdiction and venue for purposes of this action are appropriate and

 conferred by 28 U.S.C. § 1331, Federal Question Jurisdiction, as this action involves

 violations of the TCPA.

         4.      Subject matter jurisdiction, federal question jurisdiction, for purposes of

 this action is appropriate and conferred by 28 U.S.C. § 1331, which provides that the

 district courts shall have original jurisdiction of all civil actions arising under the

 Constitution, laws, or treaties of the United States; and this action involves violations of

 47 U.S.C. § 227(b)(1)(A)(iii). See Mims v. Arrow Fin. Servs., LLC, S.Ct. 740, 748 (2012)

 and Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242, 1249 (11th Cir. 2014).

         5.      The alleged violations described herein occurred in Osceola County,

 Florida. Accordingly, venue is appropriate with this Court under 28 U.S.C. §1391(b)(2)

 as it is the judicial district in which a substantial part of the events or omissions giving

 rise to this action occurred.

                                 FACTUAL ALLEGATIONS

         6.      Plaintiff is a natural person, and citizen of the State of Florida, residing in

 Osceola County, Florida.

         7.      Plaintiff is a “consumer” as defined in Florida Statute § 559.55(8).

         8.      Plaintiff is an “alleged debtor.”

         9.      Plaintiff is the “called party.” See Breslow v. Wells Fargo Bank, N.A., 755

 F. 3d 1265 (11th Cir. 2014) and Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242 (11th

 Cir. 2014).


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        10.     Defendant is a corporation which conducts business in the State of Florida

 through its registered agent, Corporation Service Company, located at 1201 Hays Street,

 Tallahassee, Florida 33146.

        11.     The debt that is the subject matter of this Complaint is a “consumer debt”

 as defined by Florida Statute §559.55(6) as it pertains to a home mortgage.

        12.     Defendant is a “creditor” as defined in Florida Statute §559.55(5).

        13.     Defendant has called Plaintiff on Plaintiff’s cellular telephone dozens

 times in an attempt to collect a debt.

        14.     Defendant attempted to collect an alleged debt from Plaintiff by this

 campaign of telephone calls.

        15.     Some or all of the calls the Defendant made to Plaintiff’s cellular

 telephone number were made using an “automatic telephone dialing system” which has

 the capacity to store or produce telephone numbers to be called, using a random or

 sequential number generator (including but not limited to a predictive dialer) or an

 artificial or pre-recorded voice; and to dial such numbers as specified by 47 U.S.C §

 227(a)(1) (hereinafter “auto-dialer calls”).

        16.     Plaintiff will testify that he knew it was an auto-dialer because on one

 occasion when he asked for the calls to stop, an agent advised that she could not stop the

 calls as they were “made by a computer.”

        17.     As a result, Plaintiff believes the calls were made using equipment which

 has the capacity to store numbers to be called and to dial such numbers automatically.




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         18.     The automated calls from Defendant are initiated from phone numbers

 including, but not limited to: 800-771-0299; when that number is dialed, an artificial

 voice plays and identifies the number as belonging to Defendant.

         19.     Plaintiff is the subscriber, regular user and carrier of the cellular telephone

 number (407) ***-2100 and was the called party and recipient of Defendant’s calls.

         20.     Defendant placed dozens of automated calls to Plaintiff’s cellular

 telephone (407) ***-2100 in an attempt to collect a debt.

         21.     In 2018 Defendant began calling Plaintiff about an alleged past-due

 balance on his account.

         22.     Soon after the calls began, Plaintiff answered a call and advised an agent

 of Defendant that he believed it was illegal for Defendant to call him about this debt and

 to “stop calling.” Unfortunately, Defendant did not honor this do-not-call request.

         23.     Despite Plaintiff’s request for the calls to stop, Defendant has continued to

 call him using its auto-dialer.

         24.     At times the calls come at a frequency which can reasonably be expected

 to harass the Plaintiff, including multiple calls per day on back-to-back days, despite the

 Plaintiff requesting that the calls stop.

         25.     Not a single call placed by Defendant to Plaintiff was placed for

 “emergency purposes” as specified in 47 U.S.C. § 227(b)(1)(A).

         26.     Defendant willfully and/or knowingly violated the TCPA with respect to

 Plaintiff. Defendant is aware that Plaintiff does not wish to receive automated calls to his

 cellular telephone yet continues to call him using technology governed by the TCPA.



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        27.     From each and every call placed without consent by Defendant to

 Plaintiff’s cellular telephone, Plaintiff suffered the injury of invasion of privacy and the

 intrusion upon his right of seclusion.

        28.     Each and every call placed without express consent by Defendant to

 Plaintiff’s cellular telephone resulted in the injury of unnecessary expenditure of

 Plaintiff’s cellular telephone’s battery power.

        29.     Each and every call placed without express consent by Defendant to

 Plaintiff’s cellular telephone resulted in the injury of a trespass to Plaintiff’s chattel,

 namely his cellular telephone and his cellular telephone services.

        30.     As a result of the calls described above, Plaintiff suffered an invasion of

 privacy. Plaintiff was also affected in a personal and individualized way by stress,

 nervousness, embarrassment, frustration and aggravation.

        31.     Plaintiff owns and operates his own business. Defendant’s unwanted calls

 interrupt Plaintiff while he is working and break his concentration, causing him to suffer

 from stress, anger, worry, and embarrassment while working.

        32.     Defendant’s unwanted calls interrupt Plaintiff while he is working and

 interacting with clients, causing him to appear unprofessional.

        33.     Plaintiff is married with six children. Defendant’s unwanted calls interrupt

 Plaintiff while he is spending time with family, causing him anger, worry,

 embarrassment, and frustration during time in his personal life.




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                                           COUNT I
                                    (Violation of the TCPA)

         34.     Plaintiff fully incorporates and re-alleges paragraphs one (1) through

 thirty-three (33) as if fully set forth herein.

         35.     Defendant willfully violated the TCPA with respect to Plaintiff, especially

 for each of the auto-dialer calls made to Plaintiff’s cellular telephone after Plaintiff

 notified Defendant that he wished for the calls to stop.

         36.     Defendant repeatedly placed non-emergency telephone calls to Plaintiff’s

 cellular telephone using an automatic telephone dialing system or pre-recorded or

 artificial voice without Plaintiff’s prior express consent in violation of federal law,

 including 47 U.S.C § 227(b)(1)(A)(iii).

                 WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues

 so triable and judgment against Bayview Loan Servicing, LLC, for statutory damages,

 actual damages, treble damages, enjoinder from further violations of these parts and any

 other such relief the court may deem just and proper.

                                           COUNT II
                                   (Violation of the FCCPA)

         37.     Plaintiff fully incorporates and re-alleges paragraphs one (1) through

 thirty-three (33) as if fully set forth herein.

         38.     At all times relevant to this action is subject to and must abide by the laws

 of the State of Florida, including Florida Statute § 559.72.




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        39.     Defendant has violated Florida Statute § 559.72(7) by willfully

 communicating with the debtor or any member of his or her family with such frequency

 as can reasonably be expected to harass the debtor or his or her family.

        40.     Defendant’s calls interrupt the Plaintiff throughout his day, causing him

 problems in his professional and personal life.

        41.     Defendant’s actions have directly and proximately resulted in Plaintiff’s

 prior and continuous sustaining of damages as described by Florida Statute § 559.77.

        WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so

 triable and judgment against Bayview Loan Servicing, LLC, for statutory damages,

 punitive damages, actual damages, costs, interest, attorney fees, enjoinder from further

 violations of these parts and any other such relief the court may deem just and proper.

                                               Respectfully submitted,



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